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                                                          - 547 -
                             Nebraska Court of Appeals Advance Sheets
                                  31 Nebraska Appellate Reports
                                           IN RE INTEREST OF DENZEL D.
                                                Cite as 31 Neb. App. 547



                                        In re Interest of Denzel D., Jr.,
                                         a child under 18 years of age.
                                         State of Nebraska, appellee, v.
                                           Denzel D., Sr., appellant.
                                                      ___N.W.2d___

                                          Filed January 24, 2023.   No. A-22-312.

                 1. Juvenile Courts: Appeal and Error. Juvenile cases are reviewed de
                    novo on the record, and an appellate court is required to reach a conclu-
                    sion independent of the juvenile court’s findings.
                 2. Parental Rights: Proof. In order to terminate parental rights, a court
                    must find by clear and convincing evidence that one of the statutory
                    grounds enumerated in Neb. Rev. Stat. § 43-292 (Reissue 2016) exists
                    and that the termination is in the child’s best interests.
                 3. ____: ____. It is the State’s burden by clear and convincing evidence
                    to show that there not only exists a statutory basis for termination of
                    parental rights but that termination is in the best interests of the child.
                 4. Parental Rights. Whereas statutory grounds for termination of parental
                    rights are based on a parent’s past conduct, the best interests inquiry
                    focuses on the future well-being of the child.
                 5. Due Process: Parental Rights: Proof. The Due Process Clause of the
                    U.S. Constitution would be offended if a state were to attempt to force
                    the breakup of a natural family, over the objections of the parents and
                    their children, without some showing of unfitness.
                 6. Parental Rights: Statutes: Words and Phrases. The term “unfit-
                    ness” derives from the fault and neglect subsections of Neb. Rev. Stat.
                    § 43-292 (Reissue 2016) and from an assessment of the child’s best
                    interests. In this context, parental unfitness means a personal deficiency
                    or incapacity that has prevented, or will probably prevent, performance
                    of a reasonable parental obligation in child rearing that has caused, or
                    probably will result in, detriment to a child’s well-being.
                 7. Parental Rights. Although incarceration alone cannot be the sole basis
                    for terminating parental rights, it is a factor to be considered.
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         Nebraska Court of Appeals Advance Sheets
              31 Nebraska Appellate Reports
                     IN RE INTEREST OF DENZEL D.
                          Cite as 31 Neb. App. 547
 8. Juvenile Courts: Child Custody: Guardians and Conservators. When
    a juvenile court awards custody of a minor to the Department of Health
    and Human Services, the court has the authority to award custody to a
    family that the department has designated as suitable guardians.
 9. ____: ____: ____. Legal guardianship is contemplated as a long-term
    permanency objective for the juvenile in connection with a relative or
    kinship home, or with an individual other than the Department of Health
    and Human Services.

  Appeal from the County Court for Hall County: Alfred E.
Corey III, Judge. Reversed in part and in part vacated, and
cause remanded for further proceedings.

  Sonya K. Poland, of Poland Law Office, for appellant.

  Christopher J. Harroun, Deputy Hall County Attorney, for
appellee.

  Moore, Riedmann, and Bishop, Judges.

  Riedmann, Judge.
                      INTRODUCTION
   Denzel D., Sr. (Denzel Sr.), appeals the order of the county
court for Hall County, sitting as a juvenile court, which ter-
minated his parental rights to his minor child and declined
to impose a guardianship for the child. For the reasons that
follow, we reverse the order terminating Denzel Sr.’s paren-
tal rights and vacate that portion of the order denying his
request for a guardianship. We remand the cause for further
proceedings.

                        BACKGROUND
   Denzel Sr. is the father of Denzel D., Jr. (Denzel Jr.), born
in February 2018. In February 2020, the State filed a peti-
tion alleging that Denzel Jr. was a child within the meaning
of Neb. Rev. Stat. § 43-247(3)(a) (Reissue 2016). The State
filed several amended petitions related to Denzel Jr. and his
two siblings, their mother, Denzel Sr., and the father of one
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
                  IN RE INTEREST OF DENZEL D.
                       Cite as 31 Neb. App. 547
of the other children. Ultimately, Denzel Sr. and the chil-
dren’s mother entered admissions to certain allegations at the
adjudication hearing, and Denzel Jr. was adjudicated under
§ 43-247(3)(a).
   In September 2021, the State and the guardian ad litem
filed a joint motion to terminate Denzel Sr.’s parental rights to
Denzel Jr. The motion alleged that termination was appropriate
under Neb. Rev. Stat. § 43-292(2), (4), (6), and (7) (Reissue
2016). The State also sought to terminate the parental rights of
Denzel Jr.’s mother to all three of the children and the paren-
tal rights of the father of one of the other children, and the
majority of the evidence presented at the termination hearing
related to them. Because they are not at issue in this appeal,
we summarize the evidence only as it relates to Denzel Sr. and
is necessary to resolve the issues raised on appeal.
   The termination hearing was held in March 2022. The evi-
dence established that Denzel Jr. was born in February 2018,
and in May 2018, Denzel Sr. was arrested and placed in jail.
It was not until February or March 2019 that Denzel Sr. dis-
covered, through a DNA test, that Denzel Jr. was his son. In
March 2019, Denzel Sr. was sentenced to 8 to 12 years’ incar-
ceration. He is eligible for parole in November 2023, but his
discharge date is not until January 2026. Thus, he was incar-
cerated from the time of his arrest and remained so through
the termination trial.
   For the majority of the case, the correctional facility where
Denzel Sr. was housed did not allow inmates to have in-person
visits because of the COVID-19 pandemic, so Denzel Sr. made
weekly phone calls to Denzel Jr.’s foster home to speak with
him. According to the foster mother, the phone calls always
went well. Denzel Sr. expressed to the Nebraska Department
of Health and Human Services (DHHS) caseworker a desire to
know his son and be involved in his life, be able to talk with
him, and watch him grow up.
   Denzel Sr.’s case plan goals throughout the case were to
follow the directives of the correctional facility, have phone
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
                  IN RE INTEREST OF DENZEL D.
                       Cite as 31 Neb. App. 547
calls with Denzel Jr. when he was able, maintain communica-
tion with his caseworker, and participate in any programming
available to him. According to the caseworker, he met all of
his goals.
   When the children were removed from their mother’s care,
they were placed in foster care with a cousin of their mother,
and the initial permanency goal for Denzel Jr. was reunifica-
tion with his mother. During the case, Denzel Sr. expressed
to the caseworker a desire to have Denzel Jr. placed with
Denzel Sr.’s mother, Gabrielle H. (Gabby). Gabby resides in
Chicago, Illinois, but she was actively involved in the case,
having weekly virtual visits with Denzel Jr., and, for a period
of time, the visits also included Denzel Jr.’s siblings. When
Gabby traveled to Nebraska to attend court hearings for the
case, she was able to have in-person visits with Denzel Jr.
as well. According to the visitation supervisor, the visits
went very well. Gabby also expressed a strong desire to have
Denzel Jr. placed with her, but DHHS declined to do so ini-
tially because it was still working toward reunification with
Denzel Jr.’s mother, who resided in Nebraska. Gabby informed
the caseworker that if the permanency goal was changed to
guardianship, she would like to have him placed with her and
indicated that she was also willing to take in Denzel Jr.’s sib-
lings. Denzel Sr. has an extended, close family who lives in
Chicago, including his siblings, cousins, aunts, uncles, nieces,
and nephews.
   In May 2021, DHHS recommended changing Denzel Jr.’s
primary permanency goal to guardianship with Gabby. After
considering the amount of time that Denzel Jr. had been out
of home, as well as the incarceration period for Denzel Sr.,
DHHS determined that would be an appropriate goal. In
order to establish guardianship with a relative as a primary
permanency goal, an Interstate Compact for the Placement
of Children (ICPC) needed to be completed, and that, along
with a home study, was conducted with Gabby, who then
was approved for placement of Denzel Jr. Thereafter, the
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
                  IN RE INTEREST OF DENZEL D.
                       Cite as 31 Neb. App. 547
caseworker provided Gabby with Denzel Jr.’s birth certifi-
cate and medical records so she could look into schools for
him to attend should he be placed with her. Although Denzel
Jr. remained in his foster home at the time of the termina-
tion hearing, the caseworker testified that placing Denzel Jr.
with Gabby was “still something [DHHS was] actively look-
ing into.”
   After the conclusion of the termination hearing, the juve-
nile court entered an order terminating Denzel Sr.’s parental
rights to Denzel Jr. The court specifically found that Denzel
Sr. met the requirements of his case plan in that his goal was
to safely parent and protect his son and his strategies were to
follow the requirements of the correctional facility, to partici-
pate in programming there, and to have phone calls with his
son and the caseworker. Nevertheless, the court determined
that clear and convincing evidence supported termination
under § 43-292(2) and (7). With respect to § 43-292(2),
the court concluded that Denzel Sr. neglected Denzel Jr.
because his own actions caused him to be incarcerated and
unable to meet his child’s basic needs. And it determined that
§ 43-292(7) was satisfied because, at the time of the termina-
tion hearing, Denzel Jr. had been in an out-of-home place-
ment for 25 months.
   The juvenile court also observed that Denzel Sr. has never
had the opportunity to parent his child due to incarceration
and that although he may be released in 2023, he also could
remain in prison until 2026. According to the court, a guard-
ianship is intended to be for a temporary placement to allow
a parent to address any outstanding issues, and although the
court acknowledged that Denzel Jr. maintained regular con-
tact with Gabby and the ICPC was approved, it determined
that Denzel Jr. should not be required to languish in the
court system indefinitely and therefore denied the request for
guardianship while finding that clear and convincing evidence
established that termination was in Denzel Jr.’s best interests.
Denzel Sr. timely appeals.
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
                   IN RE INTEREST OF DENZEL D.
                        Cite as 31 Neb. App. 547
                 ASSIGNMENTS OF ERROR
   Denzel Sr. assigns that the juvenile court erred in (1) ter-
minating his parental rights and finding that termination was
in the child’s best interests and (2) denying his request for a
guardianship.

                 STANDARD OF REVIEW
  [1] Juvenile cases are reviewed de novo on the record, and
an appellate court is required to reach a conclusion indepen-
dent of the juvenile court’s findings. In re Interest of Taeson
D., 305 Neb. 279, 939 N.W.2d 832 (2020).

                            ANALYSIS
Termination of Parental Rights.
   Denzel Sr. assigns that the juvenile court erred in terminat-
ing his parental rights to Denzel Jr. He focuses his argument on
whether the State proved by clear and convincing evidence that
termination was in the child’s best interests based on evidence
beyond his incarceration. Upon our de novo review of the
record, we find that the State failed to meet its burden of prov-
ing that Denzel Jr.’s best interests require terminating Denzel
Sr.’s parental rights.
   [2] In order to terminate parental rights, a court must find
by clear and convincing evidence that one of the statutory
grounds enumerated in § 43-292 exists and that the termina-
tion is in the child’s best interests. In re Interest of Isabel P. et
al., 293 Neb. 62, 875 N.W.2d 848 (2016). In the instant case,
the juvenile court found that the evidence was sufficient to
terminate Denzel Sr.’s parental rights pursuant to § 43-292(2)
and (7).
   Under § 43-292(7), the State must prove that the juvenile
has been in an out-of-home placement for 15 or more months
of the most recent 22 months. Here, Denzel Jr. was removed
from his mother’s care and placed in foster care in February
2020, and he remained placed outside the home throughout the
duration of the case. The State filed the motion to terminate
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
                   IN RE INTEREST OF DENZEL D.
                        Cite as 31 Neb. App. 547
Denzel Sr.’s parental rights in September 2021. Thus, at that
time, Denzel Jr. had been in an out-of-home placement for 19
months. The State therefore presented clear and convincing
evidence to satisfy § 43-292(7).
   Section 43-292 requires that the State prove only one of
the enumerated statutory grounds for termination of parental
rights. See In re Interest of Isabel P. et al., supra. Because we
conclude that there is sufficient evidence proving that Denzel
Jr. has been in an out-of-home placement for 15 or more
months of the most recent 22 months, we need not address
whether the evidence was sufficient to support termination
under § 43-292(2).
   [3-5] Under § 43-292, it is the State’s burden by clear and
convincing evidence to show that there not only exists a statu-
tory basis for termination of parental rights but that termination
is in the best interests of the child. In re Interest of Mateo L. et
al., 309 Neb. 565, 961 N.W.2d 516 (2021). Whereas statutory
grounds are based on a parent’s past conduct, the best interests
inquiry focuses on the future well-being of the child. Id. This
second hurdle is a high one for the State, since a parent’s right
to raise his or her children is constitutionally protected. Id.As we have stated before, the Due Process Clause of the U.S.
Constitution would be offended if a state were to attempt to
force the breakup of a natural family, over the objections of
the parents and their children, without some showing of unfit-
ness. In re Interest of Mateo L. et al., supra.
   As such, we apply a rebuttable presumption that it is in the
child’s best interests to maintain a relationship with his or her
parent. See id. That presumption can only be overcome by a
showing that the parent either is unfit to perform the duties
imposed by the relationship or has forfeited that right. Id.
   [6] Although the term “unfitness” is not expressly stated
in § 43-292, we have said that it derives from the fault and
neglect subsections of § 43-292 and from an assessment of
the child’s best interests. See In re Interest of Mateo L. et al.,
supra. In this context, parental unfitness means a personal
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
                  IN RE INTEREST OF DENZEL D.
                       Cite as 31 Neb. App. 547
deficiency or incapacity that has prevented, or will prob-
ably prevent, performance of a reasonable parental obligation
in child rearing that has caused, or probably will result in,
detriment to a child’s well-being. Id. The best interests and
parental unfitness analyses require separate, fact-intensive
inquiries, but each examines essentially the same underlying
facts. Id.   [7] Almost the entirety of the State’s evidence related to
best interests and unfitness focused on Denzel Sr.’s incarcera-
tion. Although incarceration alone cannot be the sole basis for
terminating parental rights, it is a factor to be considered. In
re Interest of Jahon S., 291 Neb. 97, 864 N.W.2d 228 (2015).
And we have noted that although incarceration itself may be
involuntary as far as a parent is concerned, the criminal con-
duct causing the incarceration is voluntary. Id. Thus, in a case
involving termination of parental rights, it is proper to consider
a parent’s inability to perform his or her parental obligations
because of incarceration. Id.   In In re Interest of Lizabella R., 25 Neb. App. 421, 907
N.W.2d 745 (2018), this court reversed the termination of a
mother’s parental rights to her children, finding that the State
failed to prove statutory grounds related to the younger child
and failed to prove that termination was in the best interests
of the older child. After the older child had been adjudicated,
the mother was sentenced to 10 years in federal prison. We
found that the evidence presented by the State with regard
to best interests focused on the mother’s inability to provide
for her child while she was incarcerated. We noted the case-
worker’s opinion that based on the length of time the mother
would be incarcerated and her resulting inability to provide
stable placement, terminating her parental rights was in the
children’s best interests. We recognized, however, that the
caseworker also conceded that the mother had been doing
very well and had made progress toward rehabilitating herself
as a parent prior to her incarceration. In finding that the State
failed to prove that terminating the mother’s parental rights
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
                   IN RE INTEREST OF DENZEL D.
                        Cite as 31 Neb. App. 547
was in the older child’s best interests, we relied on the fact
that the mother actively worked to improve her parenting
skills and to maintain a relationship with her child.
   The same is true in the present case. While incarcerated,
Denzel Sr. completed three parenting courses, a class dealing
with the victim impact of his offense, and classes through a
community college to further his education. He also com-
pleted an intensive outpatient program that dealt with issues
such as improving his chances of not reoffending, emotional
intelligence, integrating back into society, and creating a bet-
ter future for himself. At the time of the termination hearing,
Denzel Sr. was housed at a work ethic camp and working
toward a work-release program for which he could be eligible
the following month. He explained that he was on the waiting
list for a forklifting certification class and that if he was able to
be transferred to the work-release center in Lincoln, Nebraska,
there was a forklifting position available. He testified that he
has followed all of the rules at the correctional facility and
maintained employment while incarcerated, including cook-
ing, cleaning, and assisting in the library.
   Furthermore, Denzel Sr. kept in consistent contact with
Denzel Jr. throughout the case. According to the caseworker,
Denzel Sr. showed a desire to maintain a relationship with his
son while being incarcerated and an interest in playing a role
in his son’s life and in keeping up to date with his develop-
ment. He made weekly phone calls to speak with his son dur-
ing the time the correctional facility would not allow in-person
visits and maintained consistent contact with the caseworkers.
During the only in-person visit he had with Denzel Jr., which
occurred in November 2021, the foster mother reported that
Denzel Sr. interacted very well with his son, provided for his
needs, and read him a book.
   The State argues that In re Interest of Lizabella R., supra, is
distinguishable, because in that case, the mother proved that
she could appropriately parent her child prior to her incar-
ceration, whereas Denzel Sr. has never been in the position
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
                  IN RE INTEREST OF DENZEL D.
                       Cite as 31 Neb. App. 547
to parent his son. Although Denzel Sr. was aware of the birth
of Denzel Jr. prior to going to prison, he did not learn that
Denzel Jr. was his son until after he was already incarcerated.
Therefore, he did not have the opportunity to play a parental
role. Despite this, he has shown that he is willing and able to
perform parenting duties. He and Denzel Jr.’s mother were
in a relationship and cohabiting when she was pregnant with
Denzel Jr.’s older sister, and she initially told Denzel Sr. that
he was the father of that child. For approximately the first
year of the child’s life, Denzel Sr. performed everyday parent-
ing tasks for her such as giving her baths, feeding her, doing
her hair, singing to her, and taking care of her when she was
sick. The foster mother testified similarly, describing Denzel
Sr. as a good, attentive parent to Denzel Jr.’s sister and opin-
ing that he has parenting skills and knowledge of how to
take care of a young child. Denzel Sr. testified that had he
not been incarcerated, he would have participated in raising
Denzel Jr.
   We recognize and consider that it was Denzel Sr.’s own
actions that caused him to be incarcerated. We also consider
the fact that at that time, he was unaware that Denzel Jr. was
his son, and since learning of that fact, he has demonstrated
a commitment to his child to the best of his ability through
consistent phone calls with the child and the caseworkers and
seeking a guardianship with his mother in order to facilitate a
familial relationship for Denzel Jr. He also participated in all
services required of him and showed initiative through main-
taining employment in the correctional facility, completing
various classes and programming, and considering his future
by seeking a forklifting certification and transfer to work
release. Upon our review of these facts, we cannot find that
terminating Denzel Sr.’s parental rights is in Denzel Jr.’s best
interests, particularly considering that we also conclude, as
explained below, that the juvenile court ruled prematurely in
denying Denzel Sr.’s request for a guardianship for Denzel Jr.
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
                  IN RE INTEREST OF DENZEL D.
                       Cite as 31 Neb. App. 547
with Gabby. We therefore reverse the juvenile court’s order and
remand the cause for further proceedings.
Guardianship.
   Denzel Sr. also assigns that the juvenile court erred in
denying his request for a guardianship. We agree. But before
addressing the merits of this issue, we pause to consider the
State’s assertion that the issue of a guardianship was never
properly presented to the juvenile court because no motion was
filed under Neb. Rev. Stat. § 43-1312.01 (Reissue 2016).
   The Nebraska Supreme Court has recognized that Nebraska
law requires the creation of permanency plans for every juve-
nile placed in out-of-home care and requires the juvenile courts
to hold a hearing on the plan. In re Interest of LeVanta S.,
295 Neb. 151, 887 N.W.2d 502 (2016). The court’s order on a
permanency plan must include whether the objective is for the
juvenile to be returned to the parent, referred for a termination-
of-parental-rights filing, placed for adoption, or referred for a
guardianship. Id. If the permanency plan for a child who has
been adjudicated under § 43-247(3)(a) does not recommend
return of the child to his or her parent or that the child be
placed for adoption, the juvenile court may place the child in
a guardianship as long as certain statutory requirements have
been met. See § 43-1312.01.
   [8] Prior to 1998, county courts had exclusive jurisdiction
over all guardianship matters. See In re Interest of Mekhi S.
et al., 309 Neb. 529, 960 N.W.2d 732 (2021). Thus, if the
juvenile court ordered a permanency objective of legal guard-
ianship for a juvenile who was then under the jurisdiction of
the juvenile court, the pending juvenile proceedings were held
in abeyance until guardianship proceedings could be filed and
finalized in the county court, after which the juvenile court’s
jurisdiction ended. Id. Since that time, the relevant statute
has been amended to grant juvenile courts concurrent original
jurisdiction over guardianship proceedings, and when a minor
is adjudged to be within the jurisdiction of the juvenile court,
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                 IN RE INTEREST OF DENZEL D.
                      Cite as 31 Neb. App. 547
a guardianship appointment must be made pursuant to the
juvenile code. See id. Therefore, when a juvenile court awards
custody of a minor to DHHS, the court has the authority to
award custody to a family that DHHS has designated as suit-
able guardians. See In re Guardianship of Rebecca B. et al.,
260 Neb. 922, 621 N.W.2d 289 (2000).
   We do not read the foregoing as requiring that a specific
motion for guardianship be made in order for a juvenile court
to consider placing an adjudicated child in a guardianship.
Rather, DHHS determines the permanency plans for children
in its custody and presents the plans to the juvenile court for
approval. If the permanency plan recommends a guardianship
and DHHS has identified a potential guardian, then the issue
has been presented to the juvenile court and the matter pro-
ceeds accordingly.
   This procedure was initially followed in the present case.
At the outset, the primary permanency goal for Denzel Jr. was
reunification with his mother. As early as January 2021, an
alternative goal of guardianship with Gabby was also recom-
mended, but because she lives out of state, DHHS continued
Denzel Jr.’s placement in his foster home and continued mak-
ing reasonable efforts toward reunification with his mother.
In May, however, DHHS recommended that the primary goal
for Denzel Jr. be changed to guardianship, and the court
approved the change. And every case plan and court report
thereafter included guardianship with a relative as the primary
permanency plan. DHHS took steps to facilitate the guardian-
ship, including completing an ICPC and a home study. DHHS
approved Gabby for placement of Denzel Jr., but the process
stalled there. Accordingly, the permanency plan of guardian-
ship for Denzel Jr. with Gabby was presented to the juvenile
court throughout the case, but it erred in denying it at the
conclusion of the hearing on the termination of Denzel Sr.’s
parental rights.
   To support its decision, the juvenile court opined that a
guardianship is intended to be for a temporary placement to
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        Nebraska Court of Appeals Advance Sheets
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                  IN RE INTEREST OF DENZEL D.
                       Cite as 31 Neb. App. 547
allow a parent to address any outstanding issues. The court
therefore declined to impose a guardianship because Denzel
Sr. has been incarcerated for most of Denzel Jr.’s life and
because Denzel Jr. was just 4 years old at the time. To this end,
the caseworker opined that Denzel Jr.’s best interests require
permanency.
   [9] But terminating a parent’s rights is not a prerequisite
to achieving permanency for an adjudicated child. Section
43-1312.01(3) specifically provides that notwithstanding the
fact that the juvenile court retains jurisdiction over the child
for modification or termination of the guardianship order, “the
guardianship placement shall be considered permanent for the
child.” One commentator has noted that a
      legal guardianship is contemplated as a long-term per-
      manency objective for the juvenile in connection with
      a relative or kinship home, or with an individual other
      than [DHHS]. . . . Furthermore, a legal guardianship
      established pursuant to [the procedures outlined in]
      § 43-1312.01 is statutorily recognized as a form of per-
      manency for the juvenile.
Christine P. Costantakos, Juvenile Court Law and Practice
§ 6:5 at 456 (2022). A guardianship grants to the guardian such
powers, rights, and duties with respect to the care, mainte-
nance, and treatment of the child as the biological or adoptive
parent would have, discontinues permanency reviews and case
reviews, and relieves DHHS of its duties of supervising the
placement of the child. See § 43-1312.01.
   Here, in order to facilitate the guardianship, an ICPC and a
home study were conducted with Gabby, and she was approved.
She participated since the inception of the case by staying in
contact with the caseworkers and having weekly visits with
Denzel Jr., as well as his siblings for a period of time. The chil-
dren’s therapist opined that the three children should remain
together, and Gabby was willing to take all three of them into
her home. The visits between Gabby and Denzel Jr. went well,
and they have a bond with each other.
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
                 IN RE INTEREST OF DENZEL D.
                      Cite as 31 Neb. App. 547
   Moreover, during the case, DHHS supported the establish-
ment of a guardianship. The caseworker opined at the termi-
nation hearing that it was in Denzel Jr.’s best interests to be
placed in a guardianship with Gabby. DHHS initially decided
to change the permanency plan for Denzel Jr. to guardian-
ship with a relative as the primary plan after considering the
amount of time that Denzel Jr. had been out of the home, as
well as the incarceration period for Denzel Sr. After the ICPC
was approved, the caseworker provided Gabby with Denzel
Jr.’s birth certificate and medical records so she could look
into schools for him to attend should he be placed with her.
At the time of the termination hearing, placing Denzel Jr.
with Gabby was “still something [DHHS was] actively look-
ing into.”
   The record indicates that DHHS supported placing Denzel
Jr. in a guardianship with Gabby, she was willing and able
to take in Denzel Jr. and his siblings in order to keep them
together, and she could provide the permanency that Denzel Jr.
needs while he could remain in a relative placement with his
paternal grandmother. Based on the foregoing, we conclude
that the juvenile court erred in denying the request for guard-
ianship. We therefore vacate the court’s order and remand the
cause for further proceedings consistent with this opinion.
                        CONCLUSION
   Upon our de novo review of the record, we reverse the
juvenile court’s order terminating Denzel Sr.’s parental rights
and vacate that portion of the order denying a guardianship
with Gabby. Accordingly, we remand the cause for further
proceedings.
               Reversed in part and in part vacated, and
               cause remanded for further proceedings.
